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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    ART AKIANE LLC,

             Plaintiff,

    v.                                              Case No. 19-cv-02952

    ART & SOULWORKS LLC,                            Judge Edmond E. Chang
    CAROL CORNELIUSON,
    CARPENTREE,LLC, and VIRGINIA                    Mag. Judge Jeffrey Cole
    HOBSON,

             Defendants.

    ART & SOULWORKS LLC, and
    CAROLYNE CORNELIUSON,

             Defendants-Counter-Plaintiffs,

    v.

    ART AKIANE LLC,

             Plaintiff – Counter-Defendant,

    and

    AKIANE ART GALLERY, LLC, and
    AKIANE KRAMARIK,

             Counter-Defendants.

                                       NOTICE OF MOTION

            PLEASE TAKE NOTICE that on April 7, 2020 at 8:30 a.m.,1 Plaintiff/Counter-

Defendant, Art Akiane LLC (“Art Akiane”), through its undersigned attorneys, shall appear before



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  Due to the ongoing public health exigencies caused by the COVID-19 virus, Art Akiane is
amenable to presenting the motion by telephonic hearing, or otherwise, on the noticed date or on
any earlier or other date as the Court deems appropriate.
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the Honorable Magistrate Judge Jeffrey Cole, or any judge sitting in his place and stead, in Room

1003 of the United States Courthouse, 219 South Dearborn Street, Chicago, Illinois, and then and

there present Art Akiane’s Motion to Compel Art & SoulWorks LLC to Respond to

Interrogatory Nos. 6 and 11, and Request for Production No. 19, a copy of which is hereby

served upon all parties of record via CM/ECF.


Dated: March 30, 2020                           Respectfully submitted,

                                                ART AKIANE LLC,


                                                By: s/ Adam Wolek
                                                    Adam Wolek
                                                    Marcus Harris
                                                    TAFT STETTINIUS & HOLLISTER LLP
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                                                     mbarbara@taftlaw.com

                                                     Counsel for Plaintiff and Counter-
                                                     Defendant Art Akiane LLC




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on March 30, 2020, the foregoing was filed with the Clerk of Court

via CM/ECF, which provided notice of same to all parties who have made an appearance in this

case.


                                                      /s/ Adam Wolek




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